Case 19-72382-FJS           Doc 7     Filed 06/24/19 Entered 06/24/19 10:57:55   Desc Main
                                      Document      Page 1 of 1


                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF VIRGINIA
                                      Norfolk Division

In Re:     MARY KATHLEEN SCANLON                           Case No. 19-72382

                         Debtor.                           Chapter 7


                                     CERTIFICATE OF MAILING

      The undersigned Counsel hereby certifies to the Court that true copy of the
Statement of Intention filed on June 24, 2019, was mailed on June 24, 2019 to:


 Bank of America                                     American Honda Finance
 Attn: Bankruptcy NC4-105-02-77                      Attn: Bankruptcy
 PO Box 26012                                        201 Little Falls Dr
 Greensboro, NC 27420                                Wilmington, DE 19808



         and will also be electronically served on all other parties who receive ECF notice.

                                                    By: /s/ Timothy V. Anderson
                                                    Timothy V. Anderson, VSB 43803
                                                    ANDERSON & ASSOCIATES, PC
                                                    Counsel for Debtor




Timothy V. Anderson, VSB 43803
ANDERSON LAW
Counsel for Debtor
2492 North Landing Road, Suite 104
Virginia Beach, Virginia 23456
(757) 301-3636 – tele.
(757) 301-3640 – fax
norfolkattorney@aol.com
